

Matter of Gowdey (2019 NY Slip Op 02778)





Matter of Gowdey


2019 NY Slip Op 02778


Decided on April 11, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: April 11, 2019
[*1]
In the Matter of PETER WHITLOCK GOWDEY, an Attorney. 
(Attorney Registration No. 1586007)

Calendar Date: April 8, 2019


Before: Garry, P.J., Clark, Aarons, Rumsey and Pritzker, JJ.


Peter Whitlock Gowdey, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department



MEMORANDUM AND ORDER
Per Curiam.
	Peter Whitlock Gowdey was admitted to practice by this Court in 1969 and lists a business address in McLean, Virginia with the Office of Court Administration. Gowdey now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Gowdey's application.
Upon reading Gowdey's affidavit sworn to February 19, 2019 and filed March 19, 2019, and upon reading the April 3, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Gowdey is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Aarons, Rumsey and Pritzker, JJ., concur.
ORDERED that Peter Whitlock Gowdey's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Peter Whitlock Gowdey's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Peter Whitlock Gowdey is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gowdey is hereby forbidden to appear as an attorney or counselor-at-[*2]law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Peter Whitlock Gowdey shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








